        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 1 of 12




Rev. 3/2019


                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

VOLANTA HARRIS-MITCHELL,

Plaintiff,

vs.                                                            Case No. 20-2617-EFM

DAVID S. FERRIERO, IN HIS OFFICIAL
CAPACITY AS ARCHIVIST OF THE
UNITED STATES, NATIONAL ARCHIVES
AND RECORDS ADMINISTRATION,

                                         Defendant.

                                 AGREED PROTECTIVE ORDER

          The parties agree during the course of discovery it may be necessary to disclose certain

confidential information relating to the subject matter of this action. They agree certain categories

of such information should be treated as confidential, protected from disclosure outside this

litigation, and used only for purposes of prosecuting or defending this action and any appeals.

The parties jointly request entry of a protective order to limit the disclosure, dissemination, and

use of certain identified categories of confidential information.

          The parties assert in support of their request that protection of the identified categories of

confidential information is necessary because, based on the claims and defenses raised in this

matter, it is anticipated that the parties may seek discovery of and/or utilize documents of a

sensitive or protected nature related to Plaintiff or other non-parties, including employee personnel

files or files pertaining to applicants for positions with defendant she sought, and documents and

information related to Plaintiff’s health and financial affairs. This information is, or may be,

                                                    2
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 2 of 12




Rev. 3/2019


covered by the Privacy Act of 1974, 5 U.S.C. § 552a, the provisions of the Heath Insurance

Portability and Accountability Act of 1996 (HIPPA) and its implementing regulations, 45 C.F.R.

§§ 164.102 – 164.634, or other law. Accordingly, the parties seek a protective order to shield

these potentially sensitive materials from public view.

          For good cause shown under Fed. R. Civ. P. 26(c), the court grants the parties’ joint request

and hereby enters the following Protective Order:

          1.       Scope. All documents and materials produced in the course of discovery of this

case, including initial disclosures, responses to discovery requests, all deposition testimony and

exhibits, and information derived directly therefrom (hereinafter, collectively, “documents”), are

subject to this Order concerning Confidential Information as set forth below. As there is a

presumption in favor of open and public judicial proceedings in the federal courts, this Order will

be strictly construed in favor of public disclosure and open proceedings wherever possible.

          2.       Definition of Confidential Information. As used in this Order, “Confidential

Information” is defined as information that the producing party designates in good faith has been

previously maintained in a confidential manner and should be protected from disclosure and use

outside the litigation because its disclosure and use are restricted by statute or could potentially

cause harm to the interests of the disclosing party or nonparties. For purposes of this Order, the

parties will limit their designation of “Confidential Information” to the following categories of

information or documents:

               •   Personnel files and records

               •   Medical records and information

               •   Records and documents containing sensitive employment information

                                                     2
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 3 of 12




Rev. 3/2019


               •   Records and information subject to the Privacy Act

               •   Tax returns and other sensitive personal financial information

               •   Documents that have been previously designated as confidential or that contain

                   confidentiality clauses

Information or documents that are available to the public may not be designated as Confidential

Information.

          3.       Form and Timing of Designation.            The producing party may designate

documents as containing Confidential Information and therefore subject to protection under this

Order by marking or placing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” (hereinafter, “the marking”) on the document and on all copies in a manner that will not

interfere with the legibility of the document. As used in this Order, “copies” includes electronic

images, duplicates, extracts, summaries, or descriptions that contain the Confidential Information.

The marking will be applied prior to or at the time the documents are produced or disclosed.

Applying the marking to a document does not mean that the document has any status or protection

by statute or otherwise except to the extent and for the purposes of this Order. Copies that are

made of any designated documents must also bear the marking, except that indices, electronic

databases, or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked. By marking a designated document as confidential, the designating

attorney or party appearing pro se thereby certifies that the document contains Confidential

Information as defined in this Order.


                                                    3
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 4 of 12




Rev. 3/2019


          4.     Inadvertent Failure to Designate. Inadvertent failure to designate any document

or material as containing Confidential Information will not constitute a waiver of an otherwise

valid claim of confidentiality pursuant to this Order, so long as a claim of confidentiality is asserted

within 30 days after discovery of the inadvertent failure.

          5.     Depositions. Deposition testimony will be deemed confidential only if designated

as such when the deposition is taken or within a reasonable time after receipt of the deposition

transcript. Such designation must be specific as to the portions of the transcript and/or any

exhibits to be protected.

          6.     Protection of Confidential Material.

                 (a)     General Protections. Designated Confidential Information must be used

or disclosed solely for purposes of prosecuting or defending this lawsuit, including any appeals or

any other related legal proceeding brought by one of the parties to this litigation.

                 (b)     Who May View Designated Confidential Information. Except with the

prior written consent of the designating party or prior order of the court, designated Confidential

Information may only be disclosed to the following persons:

                 (1)     The parties to this litigation, including any employees, agents, and
                         representatives of the parties;1

                 (2)     Counsel for the parties and employees and agents of counsel;

                 (3)     The court and court personnel, including any special master

          1
            If the confidential documents contain highly sensitive trade secrets or other highly sensitive
competitive or confidential information and disclosure to another party would result in demonstrable harm
to the disclosing party, then the parties may stipulate or move for the establishment of an additional category
of protection, (e.g., Attorneys’ Eyes Only) that prohibits disclosure of such documents or information to
that category or that limits disclosure only to specifically designated in-house counsel or party
representative(s) whose assistance is reasonably necessary to the conduct of the litigation and who agree to
be bound by the terms of the Order.


                                                      4
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 5 of 12




Rev. 3/2019


                      appointed by the court, and members of the jury;

               (4)    Court reporters, recorders, and videographers engaged for deposi-
                      tions;

               (5)    Any mediator appointed by the court or jointly selected by the
                      parties;

               (6)    Any expert witness, outside consultant, or investigator retained
                      specifically in connection with this litigation, but only after such
                      persons have completed the certification contained in Attachment
                      A, Acknowledgment and Agreement to be Bound;

               (7)    Any potential, anticipated, or actual fact witness and his or her coun-
                      sel, but only to the extent such confidential documents or
                      information will assist the witness in recalling, relating, or
                      explaining facts or in testifying, and only after such persons have
                      completed the certification contained in Attachment A;

               (8)    The author or recipient of the document (not including a person who
                      received the document in the course of the litigation);

               (9)    Independent providers of document reproduction, electronic discov-
                      ery, or other litigation services retained or employed specifically in
                      connection with this litigation; and

               (10)   Other persons only upon consent of the producing party and on such
                      conditions as the parties may agree.

               (c)    Control of Documents.         The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing Confidential

Information pursuant to the terms of this Order. Counsel for the parties must maintain a record

of those persons, including employees of counsel, who have reviewed or been given access to the

documents, along with the originals of the forms signed by those persons acknowledging their

obligations under this Order.

          7.   Filing of Confidential Information.       If a party seeks to file any document

containing Confidential Information subject to protection under this Order, that party must take


                                                5
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 6 of 12




Rev. 3/2019


appropriate action to ensure that the document receives proper protection from public disclosure,

such as: (a) filing a redacted document with the consent of the party who designated the document

as confidential; or (b) seeking permission to file the document under seal by filing a motion for

leave to file under seal in accordance with D. Kan. Rule 5.4.6. Nothing in this Order will be

construed as a prior directive to allow any document to be filed under seal. The mere designation

of information as confidential pursuant to this Order is insufficient to satisfy the court’s

requirements for filing under seal in light of the public’s qualified right of access to court dockets.

The parties understand that the requested documents may be filed under seal only with the

permission of the court after proper motion. If the motion is granted and the requesting party

permitted to file the requested documents under seal, only counsel of record and unrepresented

parties will have access to the sealed documents. Pro hac vice attorneys must obtain sealed

documents from local counsel.

          8.   Challenges to a Confidential Designation. The designation of any material or

document as Confidential Information is subject to challenge by any party. Before filing any

motion or objection to a confidential designation, though, the objecting party must meet and confer

in good faith to resolve the objection informally without judicial intervention. A party that elects

to challenge a confidentiality designation may file a motion that identifies the challenged material

and sets forth in detail the basis for the challenge; the parties are strongly encouraged to consider

arranging a telephone conference with the undersigned magistrate judge before filing such a

motion, but such a conference is not mandatory. The burden of proving the necessity of a confi-

dentiality designation remains with the party asserting confidentiality. Until the court rules on


                                                  6
         Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 7 of 12




Rev. 3/2019


the challenge, all parties must continue to treat the materials as Confidential Information under the

terms of this Order.

          9.    Use of Confidential Documents or Information at Trial or Hearing. Nothing

in this Order will be construed to affect the use of any document, material, or information at any

trial or hearing. A party that intends to present or anticipates that another party may present

Confidential Information at a hearing or trial must bring that issue to the attention of the court and

the other parties without disclosing the Confidential Information. The court may thereafter make

such orders as are necessary to govern the use of such documents or information at the hearing or

trial.

          10.   Obligations on Conclusion of Litigation.

                (a)     Order Remains in Effect.          Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion of the

litigation.

                (b)     Return of Confidential Documents. Within 30 days after this litigation

concludes by settlement, final judgment, or final order, including all appeals, all documents

designated as containing Confidential Information, including copies as defined above, must be

returned to the party who previously produced the document unless: (1) the document has been

offered into evidence or filed without restriction as to disclosure; (2) the parties agree to destruction

of the document to the extent practicable in lieu of return; 2 or (3) as to documents bearing the


          2
           The parties may choose to agree that the receiving party must destroy documents
containing Confidential Information and certify the fact of destruction, and that the receiving party
is not required to locate, isolate, and return e-mails (including attachments to e-mails) that may

                                                   7
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 8 of 12




Rev. 3/2019


notations, summations, or other mental impressions of the receiving party, that party elects to

destroy the documents and certifies to the producing party that it has done so.

                (c)    Retention of Work Product. Notwithstanding the above requirements to

return or destroy documents, counsel may retain attorney work product, including an index which

refers or relates to designated Confidential Information, so long as that work product does not

duplicate verbatim substantial portions of the text or images of designated documents. This work

product will continue to be confidential under this Order. An attorney may use his or her own

work product in subsequent litigation provided that its use does not disclose Confidential

Information.

          11.   Order Subject to Modification. This Order is subject to modification by the

court on its own motion or on motion of any party or any other person with standing concerning

the subject matter. The Order must not, however, be modified until the parties have been given

notice and an opportunity to be heard on the proposed modification.

          12.   Enforcement of Protective Order. Even after the final disposition of this case, a

party or any other person with standing concerning the subject matter may file a motion to seek

leave to reopen the case for the limited purpose of enforcing or modifying the provisions of this

Order.

          13.   No Prior Judicial Determination.          This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.



include Confidential Information, Confidential Information contained in deposition transcripts, or
Confidential Information contained in draft or final expert reports.


                                                 8
        Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 9 of 12




Rev. 3/2019


Nothing in this Order will be construed or presented as a judicial determination that any document

or material designated as Confidential Information by counsel or the parties is entitled to protection

under Fed. R. Civ. P. 26(c) or otherwise until such time as the court may rule on a specific

document or issue.

          14.    Persons Bound by Protective Order. This Order will take effect when entered

and is binding upon all counsel of record and their law firms, the parties, and persons made subject

to this Order by its terms.

          15.    Applicability to Parties Later Joined. If additional persons or entities become

parties to this lawsuit, they must not be given access to any Confidential Information until they

execute and file their written agreement to be bound by the provisions of this Order.

          16.    Protections Extended to Third-Party’s Confidential Information. The parties

agree to extend the provisions of this Protective Order to Confidential Information produced in

this case by third parties, if timely requested by the third party.

          17.    Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as Confidential

Information, the receiving party must so notify the designating party, in writing, immediately and

in no event more than three business days after receiving the subpoena or order. Such notification

must include a copy of the subpoena or court order.

          The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the


                                                   9
       Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 10 of 12




Rev. 3/2019


subpoena or order is the subject of this Order, and deliver a copy of this Order promptly to the

party in the other action that caused the subpoena to issue.

          The purpose of imposing these duties is to alert the interested persons to the existence of

this Order and to afford the designating party in this case an opportunity to try to protect its

Confidential Information in the court from which the subpoena or order issued. The designating

party bears the burden and the expense of seeking protection in that court of its Confidential

Information, and nothing in these provisions should be construed as authorizing or encouraging a

receiving party in this action to disobey a lawful directive from another court. The obligations

set forth in this paragraph remain in effect while the party has in its possession, custody, or control

Confidential Information designated by the other party to this case.

          18.    Disclosure of Confidential Information Covered by Attorney-Client Privilege

or Work Product.         Whether inadvertent or otherwise, the disclosure or production of any

information or document that is subject to an objection on the basis of attorney-client privilege or

work-product protection, including, but not limited to, information or documents that may be

considered Confidential Information under the Protective Order, will not be deemed to waive a

party’s claim to its privileged or protected nature or estop that party or the privilege holder from

designating the information or document as attorney-client privileged or subject to the work-

product doctrine at a later date. Any party receiving any such information or document must

return it upon request to the producing party. Upon receiving such a request as to specific

information or documents, the receiving party must return the information or documents to the

producing party within 5 days, regardless of whether the receiving party agrees with the claim of


                                                  10
       Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 11 of 12




Rev. 3/2019


privilege and/or work-product protection. Disclosure of the information or document by the other

party prior to such later designation will not be deemed a violation of the provisions of this Order.

Although the provisions of this section constitute an order pursuant to Rule 502(d) and (e) of the

Federal Rules of Evidence, and will be construed in a manner consistent with the maximum

protection provided by said rule, nothing in this Order is intended or will be construed to limit a

party’s right to conduct a review of documents, including electronically-stored information, for

relevance, responsiveness, or segregation of privileged or protected information before production.

          IT IS SO ORDERED.

          Dated: June 8, 2021

                                               s/ James P. O’Hara
                                              James P. O’Hara
                                              U.S. Magistrate Judge


WE SO MOVE                                    WE SO MOVE
and agree to abide by the                     and agree to abide by the
terms of this Order                           terms of this Order


s/ Volanta Harris-Mitchell                    s/ K. Tyson Shaw
Signature                                     Signature

Volanta Harris-Mitchell                       K. Tyson Shaw______
Printed Name                                  Printed Name

Pro se Plaintiff                              Counsel for Defendant


Dated: June 8, 2021                           Dated: June 8, 2021




                                                 11
       Case 2:20-cv-02617-EFM-JPO Document 32 Filed 06/08/21 Page 12 of 12




Rev. 3/2019


                                      ATTACHMENT A

              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

          The undersigned hereby acknowledges that he/she has read the Protective Order dated

___________2021, in the case captioned, Volanta Harris-Mitchell v. David S. Ferriero, in his

official capacity as Archivist of the United States, National Archives and Records Administration,

Case No. 20-2617, and attached hereto, understands the terms thereof, and agrees to be bound by

its terms. The undersigned submits to the jurisdiction of the United States District Court for the

District of Kansas in matters relating to this Protective Order and understands that the terms of the

Protective Order obligate him/her to use materials designated as Confidential Information in

accordance with the order solely for the purposes of the above-captioned action, and not to disclose

any such Confidential Information to any other person, firm, or concern, except in accordance with

the provisions of the Protective Order.

          The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:                          ______________________________________

Job Title:                     ______________________________________

Employer:                      ______________________________________

Business Address:              ______________________________________

                               ______________________________________

Date: _____________            ______________________________________
                                     Signature
